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                            IN THE UNITED STATES DISTRICT COURT                             FILED
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION                                  FEB22      2019

                                                                                       CWK, U 3.   DISTRICT CLERK
TEXAS LEAGUE OF UNITED LATIN                                                           VESTER.WT OF TEXAS
AMERICAN CITIZENS, ET AL.,

        Plaintiffs,

V.                                                             CIVIL ACTION NO. SA-19-CA-074-FB

DAVID WHITLEY, in his Official Capacity
as Secretary of State for the State of Texas;
ETAL.,

        Defendants.

                                                  ORDER

        Before the Court is the status of this consolidated matter. The lead case is about to conclude the

making of a record in the preliminary injunction hearing. The Court will proceed to make a ruling at

some point in the future.

        With reference to the now consolidated three cases, the Court will have a status/scheduling

conference with only lawyers required to be present, although the party representatives may attend as well.

        It is not necessary for all of the counsel to appear so long as there is at least one for each party.

        The hearing will be on Monday, March 11, 2019, at 9 a.m., in Courtroom Two of the John H.

Wood, Jr. United States Courthouse, 655 East César E. Chavez Boulevard, San Antonio, Texas 78206.

        In the meantime, counsel and the parties are encouraged to pause activities surrounding this

litigation except for the county voting officials to continue vetting the lists (as previously directed by the

Secretary of State) to verify who is or is not an American citizen and not send any examination letters,

until further hearing before the Court.

        IT IS SO ORDERED.

        SIGNED thisQ              day of February, 2019.




                                                         FRED BIERY
                                                         UNITED STATES                 CT JUDGE
